surpose of initiating the civil docket sheet

Case 5:24-cv-01044-GTS-MJK Document 1-1 Filed 08/26/24 g

Fey loy Uy

(Rev. 10/20)

CIVIL COVER SHEET

JS 44 ciyil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
vided by local rules of court, This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

he

I (@) PLAINTIFFS \iy one Care Him 9

Ci

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (firm Name, Address, and Telephone Number)

NOTE:

Attorneys (If Known)

County of Residence of First Listed Defendant

DEFENDANTS Sy YOCULW ay} yj Scio’ DStn

(IN US. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED

Il. BASIS OF JURISDICTION (Place an “X" in One Box Only)

O

| U.S, Government
Plaintiff

2 U.S, Government

Defendant

CL 3 Federa! Question

(U.S. Government Nota Party)

C4 Diversity

(indicate Citizensh

ip of Parties in Hem HD)

Citizen of This State

Citizen of Another State

Citizen or Subject ofa
Foreign Country

PTF

[)3

Il]. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
(For Diversity Cases Only)

and One Box for Defendant)

DEF PTF DEF
C] 1 Incorporated or Principal Place LC] 4 Ms
of Business In This State
2 C 2 Incorporated and Principal Place CJ 5 CL] 5
of Business In Another State
C 3 Foreign Nation Cc] 6 L]6

IV. NATURE OF SUIT (Place an "NX" in Que Box Only)

Click here for: Nature of S

tit Code Descriptions.
OTHER STATUTES

[eS CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY
110 Insurance PERSONAL INJURY PERSONAL INJURY |] 625 Dnig Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane E] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability |_]690 Other 28 USC 157 _ 3729(a))
140 Negotiable Instrument Liability LJ 367 Health Care/ 400 State Reapportionment
150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act i 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability CT] 368 Asbestos Personal 835 Patent - Abbreviated _| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability C] 840 Trademark Corrupt Organizations
Cl 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR [_] 880 Defend Trade Secrets |_| 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
| 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
[| 190 Other Contract Product Liability 380 Other Personal fin 720 Labor/Management __ SOCIAL SECURITY. Protection Act
|] 195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
|_} 196 Franchise Injury CL 385 Properly Damage 862 Black Lung (923) 850 Securities/Commodities/

|_] 362 Personal Injury -
Medical Malpractice

Product Liability

751 Family and Medical
Leave Act

se Railway Labor Act

790 Other Labor Litigation

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
290 All Other Real Property

442 Employment

443 Housing/
Accommodations

|_| 445 Amer, w/Disabilities -

Employment

| 446 Amer. w/Disabilities -

: Other

134 448 Education

REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS
|_| 210 Land Condemnation AT Cntr eer Hehe Habeas Corpus:
|_| 220 Foreclosure 441 Voting 463 Alien Detainee

4 510 Motions to Vacate
Sentence

[ | 530 General

[| 535 Death Penalty

Other:

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detaince -
Conditions of
Confinement

| _|791 Employee Retirement
Income Security Act

863 DIWC/DIWW (405(g))
864 SSID Title XVI
865 RSI (405(g))

|. Exchange
|_| 890 Other Statutory Actions

FEDERAL TAX SUITS

L_] 870 Taxes (U_S, Plaintiff
or Defendant)
[] 871 IRS—Third Party

IMMIGRATION

26 USC 7609

462 Naturalization Application

465 Other Immigration
Actions

| | 891 Agricultural Acts
893 Environmental Matters
895 Freedom of Information
Act
896 Arbitration
- 899 Adininistrative Procedure
Act/Review or Appeal of
Agency Decision
| 950 Constitutionalily of
State Statutes

V. ORIGIN (Place an “X” in One Box Only)

pe

| Original
Proceeding

2 Removed from 3
O State Court O

Remanded from
Appellate Court

4 Reinstated or 5 Transferred from
O U Another District
(specify)

Reopened

Transfer

6 Multidistrict
Litigation -

oO § Multidistrict
Litigation -
Direct File

VI. CAUSE OF ACTION

Citethe U.S. Civil Statute under which you are filing (Do aut cite jurisdictional statutes unless diversity)

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VII. REQUESTED IN

COMPLAINT:

[] CHECK IF THIS

IS A CLASS ACTION

UNDER RULE 23, F.R.Cv.P

DEMANDS

WACO OOO

CHECK YES only if demanded in complaint:

JURY DEMAND:

Alves LINo

VIL RELATED CASE(S)

IF ANY

(See instructions):

JUDGE

DOCKET NUMBER

DATE

SIGNATURE OF ATTORNEY OF RECORD

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP | 12. S

JUDGE GTS MaG.JUDGE AA k

